                        In The Matter Of:
                          Genger Poole v.
                           Gaston County




                           Roy G. Taylor
                                   Vol. 1
                           March 8, 2017




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Case 3:15-cv-00309-DCK Document 88-2 Filed 03/31/17 Page 1 of 4
                                                                                 64




14     A.       Yes.


15     Q.       And on this final page i t says that you reviewed

16     video   statements?

17     A.       Yes.


18     Q.       What did the video statement of Robert Hinson

19     provide you information cibout?

20     A.        That was his son-in-law.           And he was basically

21     talking about what a good person he was.              And I don't think

22 I there was any real gleaning information out of it.
23 I Q.          Was there any information at all about the incident
24 I   i t s e l f contained in the video statement of Robert Hinson?

25     A.        I    don't   recall.

                     Geri Halma,   M.F.A.,   CSR,   RPR,   CLVS

       Case 3:15-cv-00309-DCK Document 88-2 Filed 03/31/17 Page 2 of 4
                                                                                  65



 1   Q.        Was he a      witness?

 2   A.        No.


 3   Q.        It says video daughter.

 4   A.        I   wasn't able to catch her name.              I   didn't

 5   understand what i t said.          But i t said i t was his daughter.

 6   I played i t several times,         and I      just couldn't understand

 7   what she was saying her name was.

 8   Q.        Did she see any of the incident?

 9   A.        No.


10   Q.        So you didn't use any of her information in your

11   report?

12   A.        No.


13   Q.        Bill Flanders?

14   A.        Yes.       That's   the best I    could understand him,      the

15   landlord, yeah.         He wasn't a witness either and just said he

16   was a good tenant and had been for there for a year and a

17   half or two years,        some short period, and never had any

18   issues with him.

19   Q.        Did you review the video of Genger Poole?

20   A.        I   did.

21   Q.        Was she a witness to any of the events?

22   A.        Not at the point of the shooting but afterwards when

23 I she came out to find out, you know, what was going on, then
24   she, you know, related what happened to her.

25   Q.        Did you use any of the information she provided in

                   Geri Halma,     M.F.A.,   CSR,    RPR,   CLVS

      Case 3:15-cv-00309-DCK Document 88-2 Filed 03/31/17 Page 3 of 4
                                                                       66



1   compiling your report?

2   A.       No.

3   Q.       Did you review the video statement of Lorrie Martin?

4   A,       I   would have reviewed i t .    I   don't recall   the

5   substance of i t though.




    Case 3:15-cv-00309-DCK Document 88-2 Filed 03/31/17 Page 4 of 4
